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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

Odell Wheaton,                         )
                                       )
       Plaintiff,                      ) Civil Action File No.:
                                       ) 1:16-cv-02889-ODE-CMS
v.                                     )
                                       )
Central Credit Services, LLC,          )
                                       )
       Defendant.                      )


                    JOINT STIPULATION OF DISMISSAL

      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Odell Wheaton, (“Plaintiff”) and

Central Credit Services, LLC (“CCS”) hereby jointly stipulate and agree that

Plaintiff hereby dismisses, with prejudice, her claim asserted against CCS in the

above-styled action, with the parties to bear their own attorney’s fees, costs and

expenses.

      Respectfully submitted this 2nd day of May, 2017.



      [COUNSELS’ SIGNATURES APPEAR ON FOLLOWING PAGE]




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/s/Wendi E. Fassbender, Esq.                 /s/ Adam Klein
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Counsel for Defendant




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                         CERTIFICATE OF SERVICE

      I hereby certify that on May 2, 2017 I caused the electronic filing of the

foregoing document to be filed with the Clerk of the Court using the CM/ECF

system, which will automatically send e-mail notifications of such filing to all

attorneys of record that have appeared in this case.




                                                       /s/ Adam Klein
                                                       Adam Klein
                                                       Georgia Bar No. 425032




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                               CERTIFICATION

      The undersigned further certifies that this document has been prepared in

accordance with the formatting requirements designated in Local Rule 5.1.

      This 2nd day of May, 2017.



                                                         /s/ Adam Klein
                                                         Adam Klein
                                                         Georgia Bar No. 425032




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